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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
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 9   Ronald H. Pratte,                             Case No. 2:19-cv-00239-PHX-GMS
10                        Plaintiff,               PROPOSED ORDER GRANTING
                                                   JOINT MOTION TO MODIFY CASE
11                                                 MANAGEMENT ORDER
     vs.
12
     Jeffrey Bardwell and Fanny F. Bardwell,
13   husband and wife,
14                        Defendants.
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16         Pending before the Court is the Parties’ Joint Motion to Modify Case
17   Management Order (Doc. 36) to extend the deadlines as ordered by the Court
18   on October 8, 2019 (Doc. 29). Accordingly,
19         IT IS HEREBY ORDERED granting the Joint Motion to Modify Case
20   Management Order (Doc. 36) and extending the deadlines set forth in the
21   Court’s October 8, 2019 Order (Doc. 29) as follows:
22         IT IS FURTHER ORDERED:
23         1.     Extending the deadline for final supplementation of MIDP responses and
24   Extending the deadline for final supplementation of MIDP responses and the completion
25   of fact discovery, including discovery by subpoena, from January 31, 2020 to
26   February 28, 2020.
27         2.     Extending the deadline for Plaintiff to provide full and complete expert
28   disclosures from February 21, 2020 to March 27, 2020.

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 1          3.    Extending the deadline for Defendants to provide full and complete expert

 2   disclosures from March 13, 2020 to April 10, 2020.

 3          4.    Extending the deadline for rebuttal expert disclosures from April 10, 2020

 4   to May 8, 2020.

 5          5.    Extending the deadline for completing all expert depositions from May 15,

 6   2020 to June 19, 2020.

 7          6.    Defendants further request the Court extend the dispositive motion deadline

 8   to July 17, 2020 to maintain the overall timeline whereby all information can be

 9   considered, including expert depositions, if needed.

10          7.    To comport with the Court’s prior Case Management Order, it is requested

11   the pre-motion conference letter submission and contact date be moved from May 8,

12   2020 to June 12, 2020. On or before June 12, 2020, the parties shall exchange their

13   respective two-page letters regarding any anticipated dispositive motions, and on June 12,

14   2020, the parties shall contact the Court to schedule a time for the pre-motion conference,

15   if needed.

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            DATED this ____ day of _________________, 2019.
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